
Per curiam.
In two separate complaints involving independent incidents, Jackson S. Cooley was charged with the wilful abandonment of and disregard for a legal matter entrusted to him in violation of Georgia Bar Rule 4-102, Standard 44, 241 Ga. 721, 738. In response to these complaints and in each case, respondent admitted all of the allegations contained in the complaints and moved for voluntary imposition of disciplinary action against him.
The Special Master appointed by this Court found the respondent to be in violation of the rules and the State Disciplinary Board adopted the findings and recommends that the respondent be indefinitely suspended from the practice of law in the State of Georgia.
Upon review of the record, we find that the Board’s recommendation is proper and we therefore order that Jackson S. Cooley be suspended indefinitely from the practice of law in this state.

Indefinitely suspended.


All the Justices concur.

